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 2                                                                                    i'-TF"CT ~^lJRT


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                                                                      CEN"fi~F~L DISTRICT OF CA~1~=0RNIA
                                                                      gY                        D'FLUTY
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 6

 7                                   UNITED STATES DISTRICT COURT

 8                                  CENTRAI, DISTRICT OF CALIFORNIA

 9

10      UNITED STATES OF AMERICA,                )      ease No.: /l/~J 2~ -5og7
11                            Plaintiff,         )

12                  vs.                          )      ORDER OF DETENTION AFTER HEARING
                                                             [Fed. R. Crim. P. 32.1(a)(6);
13                                                            18 U.S.C. § 3143(a)]
        Crti~o6A~ C.o~N - A~RLbLPr, >
14
                              Defendant.        )
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18              The defendant having been arrested in this District pursuant to

19      a    warrant       issued   by   the   United       States   District         Court        for          the

20      D~S~~         ~1    / ~ ~~~~       for alleged violation(s 1              ~f the terms ~nc3

21      conditions o         hi /her [probation]            supervi
                                                                 d  se releas ]; and

22              The   Court    having    conducted      a    detention     hearing         pursuant              to

23      Federal Rule of Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),

24              The    ourt finds that:
                                                        ~-.-,
25      A.      (      The defendant has not me         hi '/her burden of establishing by

26              clear and convincing evidence that he~'she is not likely to flee

27              if released under 18 U.S.C. § 3142(b) or (c).                        This finding is

28 ~,           based on VUl U ~tl~~- p rldY 12.WLO~la~S~ IJYIG~nU~1YYLQ(/~ ~                              S/
     Case 2:21-mj-05087-DUTY Document 6 Filed 11/05/21 Page 2 of 2 Page ID #:14



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2         VYI~J~►~-p oy
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4        and/or

    B.   ~     The defendant has not met       is her burden of establishing by

         clear and convincing evidence that he/ he is not likely to pose

         a danger to the safety of any other person or the community if

         released under 18 U.S.C. § 3142 (b) or (c) .        This finding is based

         on: Y1/l V ~ }l~ ~2   V ~S               G✓~~l~I/1,(vl CL ~ ~~`~'~   ~   b

         ~C~l~~ ~o ~ i(~. ~'~1~11~ JVW 't I ~~ ~O V~ Vl~~l'~.5




         IT THEREFORE IS ORDERED that the defendant be detained pending

    the further revocation proceedings.



    Dated:    NO✓. ~/ ~~1                     /'V"`
                                              JEAN ROSENBLUTH
                                              U.S. MAGISTRATE JUDGE




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